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                 THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DIST ICT OF TEXAS ' | )
                         SHERMAN DIVISION
                                                                      JUL 2 2 2024
STEPHEN MATTHEW AVDEEF, § CLERK u s D)STR1CT COURt
                                              § EASTERN DISTRICT OF TEXAS
      Petitioner & Google Crime Victim §


v'                                  !

                                              § Case No. 4:20-CV-957-SDJ

                                              § Hon. Sean D. Jordan




                                              §
Google LLC. §

      Defendant. §

  MOVANT/PETITIONER AND GOOGLE CRIME VICTIM S MOTION
      FOR DIRECTED VERDICT TO FEDERAL MAGISTRATE,
     THE HONORABLE JUDGE AILEEN GOLDMAN DURRETT

      COMES NOW Petitioner and Google Crime Victim, STEPHEN

MATTHEW AVDEEF, and files this Movant/Petitioner And Google Crime

Victims Motio For Directed Verdict To Federal Magistrate, The Ho orable

Judge Aileen Goldman Durrett, against Defendant, United States Government,

DOD, and NSA Spying Contractor Google Inc., Alphabet Inc., and would

respectfully show the Court as follows:


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                               Statement of Facts

1. Your Honor, if it pleases the court, Movant would now like to humbly and

respectfully request this honorable court to hold Defendant Google responsible for

their ruthlessly cruel campaign of federal criminal and international acts of

retaliation and personal destruction of a Google crime victim, now being ignored.

2. On or about Tuesday, May 7th, 2024, a true and correct copy of the 'Motion

For Sanctio s Pursuant To Criminal Deprivation of Rights T rough Illegal Search

and Seizure Pursuant To 'BIVENS" was electronically served upon Defendant

Google, and was in turn served by Federal Express delivery service (7762 5986

1586) upon Plaintiff, The State of Texas, by and through Chief Counsel, Texas

Attorney General Ken Paxton who has chosen not to properly respond.

3. In addition, on or about Tuesday, May 28th, 2024, a true and correct copy of

the 'Amended Motion For Sanctions' was electronically served upon Defendant

Google, VP, Ken Walker who is now pretending that Movant no longer exists.

4. Therefore, as of Monday, July 22nd, 2024, a total of SEVENTY-SIX (7 )

CALENDAR D YS have expired from Defendant Google's electronic service of

the aforementioned 'Motion For Sanctions....'


5. Furthermore, as of Monday, July 22nd, 2024, a total of FIFTY-FIVE (55)

CALENDAR DAYS have expired from Defendant Google's electronic service of

the aforementioned 'Amended Sanctions'



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                                 Legal Argument

6. Directly pursuant to the well-established legal precedent and under the color

of law, when a Defendant is served with legal allegations of wrong doing by and

through the act of 'Motion Practice,' and thus if that Defendant refuses to answer

by their own volition, then the allegations are, DEEMED ADMITTED.

7. If in fact, Defendant Google, was wholly expecting to be treated as a Federal

Government Agency, thus a United States Government/NSA Spying/Military

Contractor, and was expecting the Federal Court to honor the forty-five (45) to

sixty (60) day response time, that time has in fact been expended by default.

8. The material fact that the aforementioned time requirement granted to

gove ment agencies depending on status, was in fact a subject of demonstrative

acts of Federal Criminal Fraud, outright perjury, and the criminal concealment of

Federal Criminal Material Evidence. That in fact, Defendant Google successfully

lied their way out of ever being held responsible for, through a highly salacious

and defamatory act of 'FRAUD UPON THE COURT' in 'Avdeef v. Google' as

Defendant Google maliciously and deviously defrauded the court into concealing

Defendant Google's U.S. Military and United States Government Legal Standing.

9. Both Defendant Google and the Law Firm of Phelps & Dunbar were

properly served both Certificate of Conference, and each aforementioned Motion,

and both criminally conspirative entities maliciously chose, NOT TO ANSWER!


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10. A 'Motion For Sanctions' has always been viewed by the courts as a forcible

demand for answers, and a court ordered request for 'admission(s)' for the truth,

once the court accepts and files the punishable motion for sanctions. Thus, the

court should now consider the argument that a motion for sanctions should be

viewed as a pre-emptive 'Request For Admissions,' pursuant to the fact that the

Movant/Petitioner crime victim that was brutalized through acts of Defendant's

vicious retaliation, is without the right of 'Discovery', pursuant to the fact that

Movant/Petitioner, is not a party to the Federal Civil Litigation action.

11. Pursuant to FEDCIV Rule. 36, Request For Admissions,' if the admission

requests are ignored by the recipient Defendant, then the sought after requests for

the truth, are in fact, DEEMED ADMITTED. After several months of deafening

silence, Defendant Google and the criminal conspirators at Phelps & Dunbar who

have escaped justice for global crimes up to this point, have all REFUSED TO

ANSWER with the TRUTH, and are knowingly re-victimizing Movant/Petitioner.

12. Therefore, the act of issuing sanctions from the bench is a court enacted

'Summary Judgment' that is levied against the unacceptable actions, and thus in this

case, the numerous Federal and International criminal acts that should be referred

by this court to the DOJ and The Office of The United States Atto ey for

investigation and prosecution, should be treated as harshly as possible within legal

limits. Thus, these actions fall under FEDCIV Rule. 56, 'Summary J dgment.'



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                              Conclusion and Prayer

13. This is a cry from the dark from a family of crime victims that have been

silenced into submission by a Democratic political party enforcer, that at the

moment, has complete criminal autonomy from an equally corrupt Biden run DOJ.

The crimes that are being suppressed, are stunning in the scope of Federal and

International Corruption, and that lead all the way back to then VP Biden, and the

Obama administration, thus crimes to conceal this matter all the way to retaliatory

murder, are knowingly acceptable by the DOJ, Office of The Inspector General!

14. Criminally and unmercifully attacking a Friend of The Court' Amicus Brief

Petitioner, should be severely punished by this court, and should now lead to an

additional monetary sanction of one-hundred & eighty million ($180,000,000.00),

for the eighteen (18) years of brutality perpetrated by Defendant Google against

Movant's entire family, beginning at the original Copyright theft that took place in

2007, all the way to the present global computer theft(s) and distribution in 2024.

15. Innocent people will do whatever it takes to proclaim their innocence!

16. Petitioner now pleads with this court to sanction Defendant Google LLC in

the amount of eight-hundred and ninety-nine million, seventy-thousand dollars,

($899,070,000.00) that will now in turn set a clear and concise example that global

Copyright Theft, the criminal redistribution of stolen Copyright and stolen

Intellectual Property, will not be tolerated by U.S. or INTERNATIONAL LAW.


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                         CERTIFICATE OF SERVICE

17. On or about Thursday, July 18th, 2024, Defendant Google was properly

served a Certificate of Conference in regards to this pending legal issue for

argument now before this court. Defendant Google wholly failed to respond in a

timely manner after attacking a theft victim then ignoring the issue until it goes

way; is not an equitable or proper legal defense! Therefore this motion for Directed

Verdict is now being presented to this honorable court for legal consideration.

18. On or about Monday, July 22nd, 2024, a true and correct copy of this

Motion will be properly served upon Defendant Google, & in turn a hard copy was

mailed to Plaintiff, The State of Texas, Chief Counsel Ken Paxton by USPS mail.

DATED this 22nd day of July, 2024.

      Respectfully submitted,

                                   Stephen Matthew Avdeef PRO E MOVANT
                                   Electromd, Signat re/Stephen/Mcitthew Avdeef
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                                   Fort Worth, Texas 76140-3618
                                   (817) 564-3888
                                   E-Mail: sci writer@hotmail.com

cc: President Donahue of The Hague, t e E.U.I.P.O., The World Court of Justice,
The DO J, FBI, Inspector General of the United States of America, U.S. Speaker of
the House Mike Johnson, Se ator Jim Jord n, Senator Josh Hawley, Former
President The Honorable Donald J. Trump, Fox News Sean Hannity, and our
London Barrister, Attachment to the Impe ding U ited States Federal District
Court Litigation Complaint, Attachment to the E.U.I.P.O. International IP and
Copyright Theft Complaint, Attachment to Part Three of Three (3 of 3) of the
requested World Court of J stice Inter ational Criminal Human Rights Violation
Pleading to The Hague.

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